    Case: 1:18-cv-00008-WAL-GWC Document #: 40 Filed: 02/11/19 Page 1 of 2




                            DISTRICT COURT OF THE VIRGIN ISLANDS

                                        DIVISION OF ST. CROIX
                                                 ║
LORETTA S. BELARDO, ANGELA TUITT- ║
SMITH, BERNARD A. SMITH, YVETTE ║
ROSS-EDWARDS, AVON CANNONIER, ║                      1:18-cv-00008
ANASTASIA M. DOWARD, DARYL                       ║
RICHARDS, EVERTON BRADSHAW,                      ║
RODELIQUE WILLIAMS-BRADSHAW, ║
PAMELA GREENIDGE and WINSTON                     ║
GREENIDGE, on behalf of themselves ║
and all others similarly situated,               ║
                                                 ║
                        Plaintiffs,              ║
                                                 ║
        v.                                       ║
                                                 ║
BANK OF NOVA SCOTIA,                             ║
                                                 ║
                        Defendant.               ║
________________________________________________ ║


TO:     Vincent Colianni, II, Esq.
        Marina Leonard, Esq.
        Korey A. Nelson, Esq.
        Warren T. Burns, Esq.
        Charles Jacob Gower, Esq.
        Harry Richard Yelton, Esq.
        Carol Ann Rich, Esq.


                                               ORDER

        THIS MATTER is before the Court upon Plaintiffs’ Motion for Leave to File Second

Amended Complaint (ECF No. 29). Defendant filed an opposition to the said motion, and

Plaintiffs filed a reply in support of its motion.

        Having reviewed the motion and memorandum of law and the attachments thereto,

the Court will deny the motion without prejudice.
    Case: 1:18-cv-00008-WAL-GWC Document #: 40 Filed: 02/11/19 Page 2 of 2



Belardo v. Bank of Nova Scotia
1:18-cv-00008
Order
Page 2


        When moving to amend pleadings, Rule 15.1 of the Local Rules of Civil Procedure

requires movants to attach to the motion to amend a copy of the “entire pleading as

amended specifically delineating the changes or additions . . . .” Although Plaintiff has

attached a document to the motion that it calls “Proposed Second Amended Complaint --

Redline” at Attachment #2, this version is unacceptable. The changes or additions are not

readily apparent on the face of the document, forcing the Court to refer back and forth

between the original complaint and the proposed amended complaint. The purpose of the

rule is to avoid just such a waste of judicial time and resources.

        Accordingly, it is now hereby ORDERED that Plaintiff’s Motion for Leave to Amend

Complaint (ECF No. 29) is DENIED WITHOUT PREJUDICE.

                                                   ENTER:


Dated: February 11, 2019                           /s/ George W. Cannon, Jr.
                                                   GEORGE W. CANNON, JR.
                                                   MAGISTRATE JUDGE
